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        IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
            DIVISION OF ST. THOMAS AND ST. JOHN


CLYDE EDINBOROUGH,                 ) D.C. CV. NO. 2010-125
               Petitioner,         )
                                   ) Ref: D.C. CR. NO. 2004-154
          v.                       )
                                   )
UNITED STATES OF AMERICA,          )
               Respondent.         )
__________________________________ )


                               O R D E R

     THIS MATTER is before the Court on several motions by pro se

Petitioner Clyde Edinborough (“Edinborough”).            First Edinborough

requests discovery and oral testimony from Assistant United States

Attorney Delia Smith to obtain the following information:

     1).   Any and all “Documentation”, “Affidavit”, “Oral
     Testimony/Disclosure” relating to the prosecution in her
     former capacity as an “Assistant Attorney General”, in
     the Office of the “Attorney General of the Virgin Islands
     of the United States, Division of St. Thomas/St. John”,
     in regards to the Case of, “The People of the Virgin
     Islands v. JOHN DOE, [Described as the Biological father
     of Jury Foreperson, FELDERE WEBSTER-LEE, [in this
     captioned Federal matter]” who was then accused of
     Incestuous Sexual Molestation, of FELDERE WEBSTER-LEE.
     Specifically any and all evidence of her direct and or
     indirect    participation    in   the    “investigation”,
     “preparation” - (to include notes of pre-trial interviews
     with FELDERE WEBSTER-LEE conducted by Delia Smith). And
     or DELIA SMITH’S “Knowledge and Deliberate Concealment”
     of this fact(s) from the trial court during pre-trial
     jury voir dire.

     2).     AUSA DELIA SMITH’S, “knowledge”, advice”,
     “counseling”, “comforting”, etc[.], of FELDERE WEBSTER-
     LEE, in the subsequent Civil Lawsuit, filed on behalf of
     FELDERE WEBSTER-LEE’S, father by then Attorney STEPHEN
     BRUSCH, that sought “monetary compensatory” damages,
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        against FELDERE WEBSTER-LEE, her then husband who was
        accused of “shooting FELDERE WEBSTER-LEE’S then husband”
        and the Corporate/Company entity they (FELDERE WEBSTER-
        LEE & her then Husband Mr. DUDLEY WEBSTER, Jr. owned).

(Mot.    for   Oral     Testimony   at   2-3   (emphasis   in    original).)

Edinborough contends that these facts are germane to claims to be

made in his motion pursuant to 28 U.S.C. § 2255.                     Edinborough

subsequently filed his motion to vacate, set aside or correct his

sentence pursuant to 28 U.S.C. § 2255.

        The rule governing discovery in § 2255 proceedings provides

that:

             (a) Leave of Court Required. A judge may, for good
        cause, authorize a party to conduct discovery under the
        Federal Rules of Criminal Procedure or Civil Procedure,
        or in accordance with the practices and principles of
        law. If necessary for effective discovery, the judge
        must appoint an attorney for a moving party who qualifies
        to have counsel appointed under 18 U.S.C. § 3006A.
             (b) Requesting Discovery.       A party requesting
        discovery must provide reasons for the request.       The
        request must also include any proposed interrogatories
        and requests for admission, and must specify any
        requested documents.
             (c) Deposition Expenses.      If the government is
        granted leave to take a deposition, the judge may require
        the government to pay the travel expenses, subsistence
        expenses, and fees of the moving party’s attorney to
        attend the deposition.

Rules Governing Section 2255 Proceedings, Rule 6.               The Court has

considered Edinborough’s discovery request and does not find good

cause to grant same.

        Edinborough also seeks leave to proceed in forma pauperis with
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a prison account balance of approximately $5,700.00, but urges the

Court to note that no filing fee is required for a proceeding under

Section 2255.      The Court is well aware that no filing fee is

required in a § 2255 proceeding, but the Court also notes that:

      [e]ven though there is no need to have a forma pauperis
      affidavit to proceed with the action since there is no
      requirement of a fee for filing the motion the affidavit
      remains attached to the form to be supplied potential
      movants. Most such movants are indigent, and this is a
      convenient way of getting this into the official record
      so that the judge may appoint counsel, order the
      government to pay witness fees, allow docketing of an
      appeal, and grant any other rights to which an indigent
      is entitled in the course of a § 2255 motion, when
      appropriate to the particular situation, without the need
      for an indigency petition and adjudication at such later
      point in the proceeding.

Rule 3 of the Rules Governing Section 2255 Proceedings advisory

committee’s notes (1976); see also Martin v. United States, 273

F.2d 775, 778 (10th Cir. 1960).      Therefore, while it is undisputed

there is no filing fee to initiate a Section 2255 motion, whether

Edinborough is granted leave to proceed in forma pauperis may

affect other aspects of the proceeding.

      The decision whether to grant or deny in forma pauperis status

rests within the sound discretion of the district court. See Jones

v. Zimmerman, 752 F.2d 76, 78 (3d Cir. 1985).          To proceed in forma

pauperis, a petitioner must be financially eligible before the

Court assesses the merits of the underlying complaint.              See Roman

v. Jeffers, 904 F.2d 192, 194 n.1 (3d Cir. 1990); see also 28
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U.S.C. § 1915(e)(2).

      Here, Edinborough’s prison account balance as of March 18,

2011 was Five Thousand Seven Hundred Twelve Dollars and Eighty

Cents ($5,712.80).      Therefore, the Court finds that Edinborough is

financially ineligible to proceed in forma pauperis and will deny

his application to proceed in forma pauperis.             The Court notes,

however, that the denial of Edinborough’s request for indigent

status at this stage does not preclude him from later obtaining

such status.

      Having duly considered the premises, it is hereby

      ORDERED that Edinborough’s request for discovery and oral

testimony from AUSA Delia Smith (ECF No. 1003) is DENIED without

prejudice; and further

      ORDERED that Edinborough’s request for subpoena duces tecum

(ECF No. 1009) is DENIED without prejudice; and further

      ORDERED that Edinborough’s motion for waiver of filing fees

(ECF No. 1026) is DENIED as moot insofar as there is no filing fee

required in this motion pursuant to 28 U.S.C. § 2255; and further

      ORDERED that Edinborough’s application to proceed in forma

pauperis (ECF No. 1027) is DENIED without prejudice; and further

      ORDERED that Edinborough’s motion for release on bail pending

a decisions in his § 2255 motion and motion for new trial pursuant
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to Rule 33 of the Federal Rules of Criminal Procedure (ECF No.

1020) is DENIED; and further

      ORDERED that the Clerk’s Office shall prepare a civil summons

to be served upon Respondent, the United States Attorney, along

with Edinborough’s motions pursuant to 28 U.S.C. § 2255 and Fed. R.

Crim. P. 33 (ECF Nos. 1014-17 and 1019); and further

      ORDERED that the U.S. Marshal Service shall serve Respondent

pursuant to Federal Rules of Civil Procedure, Rule 4(c)(3) and file

proof of service with the Clerk of Court; and finally

      ORDERED that the United States Attorney shall respond to

Edinborough’s motion pursuant to 28 U.S.C. § 2255 within sixty (60)

days of service of process.

                                  E N T E R:


                                  /s/ Ruth Miller
                                  ___________________________
                                  RUTH MILLER
                                  MAGISTRATE JUDGE
Copies to:
     Clyde Edinborough, Reg. No. 07545-094, Federal Correctional
Institution, Federal Satellite Low, 2680 301 South, Jesup, GA 31599
(Please Mark: “LEGAL MAIL”)
